Case 0:19-cv-62231-RS Document 7 Entered on FLSD Docket 10/23/2019 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 0:19cv62231

 JACKIE MAHONEY,

          Plaintiff,

 v.

 FAIR COLLECTIONS & OUTSOURCING, INC.,

       Defendant.
 _________________________________________/

                            NOTICE OF PENDING SETTLEMENT

          Plaintiff, JACKIE MAHONEY, by and through undersigned counsel, hereby submits this

 Notice of Pending Settlement and states the parties have reached a settlement with regard to this

 case and are presently drafting, finalizing, and executing the formal settlement documents. Upon

 full execution of the same, the parties will file the appropriate dismissal documents with the

 Court.

 Dated: October 23, 2019                          Respectfully Submitted,

                                                   /s/ Jibrael S. Hindi
                                                  JIBRAEL S. HINDI, ESQ.
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                                                  COUNSEL FOR PLAINTIFF
Case 0:19-cv-62231-RS Document 7 Entered on FLSD Docket 10/23/2019 Page 2 of 2



                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 23, 2019, I electronically filed the foregoing with

 the Clerk of the Court using the CM/ECF. I also certify that the foregoing document is being

 served this day on all counsel either via transmission of Notices of Electronic Filing generated by

 CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

 to receive electronically Notices of Electronic Filing.



                                                    /s/ Jibrael S. Hindi
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